Case 9:18-cv-80176-BB Document 550-33 Entered on FLSD Docket 06/01/2020 Page 1 of 3

Sent: 11/21/2015 7:41:

Ramona Watts [ramona.watts@demorgan.com.au]

cc: CS: > EE; Stefan Matthews |

Subject: Re: Reporter re: satoshi

 

| suspect that some of the ex staff stole backups.

Worst case is my communications with Dave. The keys are on it as well, but they are AES 256 encrypted with 24 character randomized
passwords.

The emails start in 2007 where we discussed the idea. They are sometimes digitally signed.
can't prove that the data was stolen but itis possible
My suspicion is an ex staffer could be selling data. To that rag.

Can we find out more about this at all? Is there a means you know of?

Sent from my Sarasung Galaxy smartphone

noone Original message —-—

From: Robert MacGregor a
Date: 21/41/2015 06:34 (GM1+70:00)

To: Craig 5 Wright <

cc. & iin SC <

Subject: Re: Reporter re: satoshi

     
  
 

 

Bo you have copies of the supposedly ieaked emails? Vvhat do they have?

From: Craig S Wright
Date: Friday, 20 November 2015 at 20:30

To: Cal <P, Craig S Wright <i, Ramona Watts
<
,E iim. JLP ii Stefan Matthews

Cc: Robert MacGregor <

   
 
 

Subject: Re: Reporter re: satoshi

| was contacted by some friends in Florida, they have reporters trying to get in touch re Dave and |.

It turns out they are looking for me in London right now. They are talking to people who have a connection to Dave in Florida,
lra Daves brother may be an issue.

| trust Patrick, he is don't ask don't tell.

But they are digging.

Sent from Samsung tablet

-------- Original message --------
From: c <
Date: 20/11/2015 8:25 pm (GMT+00:00)

CONFIDENTIAL DEFAUS_00558940
Case 9:18-cv-80176-BB Document 550-33 Entered on FLSD Docket 06/01/2020 Page 2 of 3

To: Craig S Wright <_E., 2amona watts ii:
Cc: Robert MacGregor <q, i. JLP 5 OUté«*@*i Stefan Matthews

Subject: Re: Reporter re: satoshi
:-)

From: Craig S Wright <i

Date: Friday, November 20, 2015 at 4:23 PM

To: c <Q, craig s Wright <

Stefan Matthews <i
Ramona Watts
Ce: Robert MacCregc i Or &rol Cort (EE, sin Phitic <a

Subject: Re: Reporter re: satoshi

 

Not responding at all.

Not answering unknown numbers.

Sent fram Samsung tablet.

soneenee Original message --------

From: ¢ at

Date: 20/11/2015 8:14 pm (GMT+00:00)
To: Craig S Wright

 
  

, Stefan Matthews iii Ramona Watts
Cc: Robert MacGregor <i, ¢ </> <.

Subject: Re: Reporter re: satoshi

Can you just not respond to the guy. Also....you should change your phone number and not give it out to many for abit. Also
you should do what | do...| never answer a call unless | know who is calling...i.e. Its a number in my address book.

Really...you just need to go dark for a few more months so we can put your best foot forward when you do come out. | want
you to retain a lawyer in the US named Jason Weinstein. Dr Cort will arrange all of this for you now that you have retained
him as he knows the guy personally.

Here is his resume:

http://www.steptoe.com/professionals-Jason Weinstein.html

 

He is currently also the director of the industry association that is the interface between the industry in the US and law
enforcement in the US. The article below explains this a bit and has a few quotes from Jason.

http://jamaica-gleaner.com/article/business/20151023/bitcoin-groups-form-alliance-law-enforcement

 

C....

From: Craig S Wright <r

Date: Friday, November 20, 2015 at 3:11 PM

Subject: Fwd: Reporter re: satoshi

CONFIDENTIAL DEFAUS_00558941
Case 9:18-cv-80176-BB Document 550-33 Entered on FLSD Docket 06/01/2020 Page 3 of 3

Bloody reporters
Sent from Samsung tablet.

noennnnn- Original message --------
From: Andy Cush

Date: 20/11/2015 6:58 p “00)
To: craig.steven.wright
Subject: Reporter re: satoshi

Hi Craig, this is Andy Cush again, one of the reporters who called about Bitcoin and Satoshi Nakamoto a few days ago. I've
been in touch with some other sources who suspected that you and/or Dave Kleiman had a role in its creation, and I'd very
much like to talk to you if you're interested. Thanks very much for your time.

Andy Cush
Gawker

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